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        EXHIBIT A-32
                                                                                    Case 1:23-cv-01599-ABJ Document 16-8 Filed 06/06/23 Page 2 of 4




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                                    2019-10-30 03:52
Binance Fan Token
                                                                                                                                                                                                                       How to Withdraw Fiat Currency from
                                    You can now deposit and withdraw fiat currencies, such as EUR, RUB, KZT and TRY, through Advcash. Check out the                                                                    Binance via Advcash
Binance Earn
                                    step-by-step guide below to withdraw fiat via Advcash.
Crypto
Deposit/Withdrawal                  Important Notes:

Buy Crypto                                     Deposits and withdrawals between Binance and Advcash wallet are free.
(Fiat/P2P)
                                               Advcash may apply additional fees on depositing and withdrawing within their system.
P2P Trading

Credit/Debit Card
                                    How              to   withdraw                fiat    currency from Binance via Advcash?
Bank Transfer
                                    1.   Log    in   to your Binance account and click [Wallet]                  -   [Fiat and Spot]           .



Third Party Payment
Channels

      ADVcash

      Bank Transfer (BBK)

      Zen

      Inswitch

      Truelayer

      Simplex

      GEO Pay

                                    2.   Click [Withdraw]            .
      Bifinity

Spot & Margin
Trading

Crypto Derivatives

Trading Bots

Finance
                                    3.   You will see different            fiat   channels for withdrawing           fiat.   Click [Advcash Account Balance]              .




API

Security

Other Topics

Tax

Binance Convert

Binance Link

NFT

VIP
                                    4.   Enter your Advcash Wallet registration email and click [Continue]                                 .
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                     5.   Check the withdrawal details and click [Confirm] and verify the request with your 2FA devices.




                     6.After your withdrawal       is   submitted successfully, you should receive      a   confirmation. Please wait patiently for the
                     withdrawal to credit.




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